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EXHIBIT 0

 

 

In The Matter Of:
People for the Ethical Treatment of Animals, Inc. vs.
Tri-State Zoological Park

 

Robert Louis Candy
Vol. 1
March 16, 2018

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
Northern Division

PEOPLE FOR THE ETHICAL
TREATMENT OF ANIMALS, INC.

Plaintiff
vs. Civil Action No.
TRI-STATE ZOOLOGICAL PARK OF MJG-17-2148
WESTERN MARYLAND, INC., et al.

Defendants

 

The video-recorded deposition of ROBERT
LOUIS CANDY was held on Friday, March 16, 2018,
commencing at 10:19 a.m., at the Law Offices of
Zuckerman Spaeder LLP, 100 East Pratt Street, Suite
2440, before Baltimore, Maryland 21202, Notary

Public.

REPORTED BY: R. Dwayne Harrison

 

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APPEARANCES:

ON BEHALF OF PLAINTIFF:

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and

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APPEARANCES (Continued on Next Page}

 

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APPEARANCES CONTINUED:

ON BEHALF OF DEFENDANTS:

NEVIN L. YOUNG, ESQUIRE
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ALSO PRESENT:

GLEN FORTNER, Videographer

 

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PROCEEDINGS

THE VIDEOGRAPHER: We are now on the record
in the matter of People for the Ethic Treatment of
Animals, Ine. v. Tri-State Zoological Park of Western
Maryland, case number MJG 17-2148. Today's date is
March 16th, 2018. The time is 10:19.

This is the video-recorded deposition of
Robert Candy being taken at 100 East Pratt Street,
Baltimore, Maryland. My name is Glen Fortner on behalf
of Gore Brothers Reporting located at 36 South Charles
Street, Baltimore, Maryland. The court reporter is
Dwayne Harrison from Gore Brothers.

Will all attorneys please identify
themselves and anyone with them and the parties they
represent beginning with the party noticing this
proceeding?

MR. O'CRONIN: Conor O'Croinin on behalf of
the Plaintiff, PETA.

MS. GRAVES: Zeynep Graves on behalf of the

Plaintiff, PETA.

 

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MR. YOUNG: Nevin Young for the Defendants
and I have here with me Robert Candy who is the
deponent and he's also the principal of the
organizational Defendants.

THE VIDEOGRAPHER: Please administer the
oath.

Whereupon,

ROBERT LOUIS CANDY,
called as a witness, having been first duly sworn to
tell the truth, the whole truth, and nothing but the
truth, was examined and testified as follows:

EXAMINATION BY MR. O'CROININ:

Q Good morning, Mr. Candy.

A Good morning.

Q Have you ever been deposed before?

A No.

Q Okay. Just a couple of things before we

get into it. As you can see, there's a court reporter
here. And so one of the things we want to try to be
careful of you and me as well is that we don't talk

over one another. It makes it very hard for him to get

 

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the other volunteers --

A Either I'1l go over or one of the other
volunteers. It's pretty self-explanatory what they
need to do and we read it to make sure they've signed
it.

Q Do you maintain the signed copies?

A We maintain them for a short period of
time. After a while, we just throw them out. There's
no reason to keep them on file.

Q All right. So let's look at steps that
you've outlined here in Exhibit 5. Se, number one, if
you're the opening volunteer, you do the safety
walk-through.

So an opening volunteer, that could be
somebody besides the people you've had around for a
long time. This could be somebody from the local
college?

A No.

QO So who would be --

A An opening volunteer would be someone that

we have there on a normal basis, routine basis.

 

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Q I see. All right. So who is the opening
volunteer now, today?

A Today would have been Rella Moon.

Q All right. So Ms. Moon does a safety
walk-through and the first thing she needs to do is to

check to see whether the animals are alive; is that

right?

A Check the animals, check for water.

Q Check the enclosures to be sure everything
is in proper condition. So Ms. Moon knows whether or

is supposed to know whether a particular enclosure is
in proper condition?

A Ms. Moon had her own construction business
before coming to us, yes.

Q Do you know anything else about her
background? Did she ever work at a zoo or a vet?

A I believe she worked at the shelter. What
she did in there, I don't -- I don't know background.
We don't usually check on that.

Q The shelter, that's for dogs and cats? Any

other animals that go to a shelter?

 

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A Our shelter at the zoo -- at the zoo. Our
shelter in Allegany County sort of gets a variety of a
lot of things. It's mainly dogs and cats, but they do
get a lot. We do have rescues out there that seem to
get a lot of animals.

Q So she's supposed to look for any issues
with electrical wires.

Is she -- is she able to determine whether
or not there's a problem with an electrical wire?

A We think that most times most people would.
If there's an extension cord that's being used or you
smell -- that's something you just want to make sure --

most people can tell if there's a problem with

electric. If the power is on, you go by smell, you go
by looks.
Q Propane tanks. How many propane tanks do

you have on the property?

A Right now, we have two large ones,
200-gallon tanks and a lot of small tanks.

Q Where are they? Where are the big --

A We didn't use them this year.

 

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Q Why not?
A We found it was cheaper to use the electric
and the woodstove. We hooked up the other woodstove.
QO Where is the second woodstove?
A In the capuchin cage.
Q All right. You did say that.

So the propane tanks, there was one in the

reptile house and one in the --

A No, we don't put them in the reptile house.
They were just -- if we needed extra heat support, they
might be -- put them into one of the buildings, a
larger space. We usually didn't use them in the

reptile house because the reptile house is too
confined.

Q Okay. So where was the last place you used
a propane tank, one of the large ones?

A Probably we used the last one in probably
one of the mammal buildings where we stored small
mammals for the winter as a supplement heat source. We
didn't use them this year at all. They used to get

used in birds temporarily just to heat up the room.

 

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QO Was that --

A And then we would use them in the building
when we're building up front.

QO Okay. For the birds, is that the trailer
they we were talking about?

A No. The trailer has got its own heat
source. It's a regular house.

Q So where besides the trailer did you keep
birds?

A In their housing they had the -- there's a
glass unit when you walk in.

QO Oh, I see. Gotcha, gotcha. So you used a

propane tank there.
All right. What about the smaller propane

tanks? Are there any in use now?

A No. For grills.
QO I see, I see. Heaters, where are there
heaters? We talked about the lemur cage -- the lemur

enclosure had two heaters, right?
A Correct.

Q Any other enclosures that have heaters?

 

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A The small mammal house has a heater in it.
I think, at this point, that's the only -- I'm trying
to think and go through. None of the other animals
need heat. So I don't think there is any other
electric heat -- in the trailer, of course. I think
that's the only electric heater on.

Q How -- when did you put the heaters in the
lemur enclosure?

A They're actually left there all season. We
Just plug them in the wintertime.

Q Right. But when were they put in there,
what year?

A One of them was put in this year.

Actually, both of them were probably put in this year.

Q All right. So they're new to the lemur
enclosure?

A They're new.

QO Were there heaters before?

A There is always heaters.

Q There's always heaters in the lemur
enclosure?

 

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